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CGFD19 (3/21/07)

                                         United States Bankruptcy Court
                                                     Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                     Division: West Palm Beach
                                                                                                                  Case Number: 08−12240−PGH
                                                                                                                 Chapter: 11

In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address)
Frank Emerson Young
121 S. Anchorage Drive
North Palm Beach, FL 33408

SSN: xxx−xx−8415
                                                                                                                          CLERK
                                                                                                                          USBC
                                                                                                                           SDFL
                                                                                                                           FILED
                                                                                                                          2/28/08


                      NOTICE OF DEADLINE TO FILE REQUIRED DOCUMENTS
                            AND/OR CORRECT FILING DEFICIENCIES

The above referenced case was filed on February 27, 2008. The following documents were not filed, or were not signed, or do
not substantively conform to the official bankruptcy form(s):

                       Schedules A−J due 03/13/2008
                       Summary of Schedules due 03/13/2008
                       Statement of Financial Affairs due 03/13/2008
                       Payment Advices (Db) due 03/13/2008
                       Declaration Re: Schedules due 03/13/2008

Notice is given pursuant to Administrative Order 05−5, Local Rule 1017−2(A) and 5005−1(C)(3) that the
debtor must submit the required documents and/or correct the filing deficiency indicated above not later
than 15 days from the date of the filing of the petition. Failure to file the required documents or correct the
filing deficiency on or before March 13, 2008 may result in dismissal of this case without further notice.

Notice is further given that the Local Form "Debtor's Notice of Compliance with Requirements for
Amending Creditor Information" and the Official Form "Declaration Concerning Debtor's Schedules" must
accompany the filing of any paper submitted subsequent to the filing of the initial service matrix pursuant to
Bankruptcy Rules 1007 or 1009, Local Rules 1007−2(B) and 1009−1(C), and Administrative Order 05−5.
The Local Form "Declaration Under Penalty of Perjury to Accompany Electronically Filed Petitions,
Schedules and Statements" must accompany any electronically filed schedule or statement filed without an
imaged signature. See "Clerk's Instructions to Debtor for Submission of Initial Creditor Service Matrix and
Requirements for Submitting Subsequent Amendments" for additional format, fee and other requirements.

Date: 2/28/08

                                                                                              Clerk of Court


                                                                                            By: Karen McLaughlin
                                                                                                 Deputy Clerk
Copies to: Debtor
           Attorney for Debtor
